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                                         CRIMINAL COMPLAINT
                                                 (Electronically Submitted)
                                                                              DISTRICT of ARIZONA
               United States District Court
                       United States of America                               DOCKET NO.
                                   v.
                           Andres SOTO                                        MAGISTRATE'S CASE NO.
                    DOB: 1995; United States Citizen
                                                                               23-06149MJ
                              Complaint for violation of Title 18, United States Code, § 554

On or about August 22, 2023, in the District of Arizona, Andres SOTO knowingly, intentionally and
fraudulently attempted to export and send from the United States, any merchandise, article, or object contrary to
any law or regulation of the United States, and received, concealed, bought, sold, and in any manner facilitated
the transportation, concealment, and sale of such merchandise, article or object, that is: a High-Point 9mm caliber
pistol, 4 rounds of 9mm Luger Winchester Ammunition, one High-Point 9mm Luger Magazine, and two Glock
switches, knowing the same to be intended for exportation contrary to any law or regulation of the United States,
to wit: Title 50, United States Code, Section 4819; Title 15, Code of Federal Regulations, Parts 736.2, 738, and
774; all in violation of Title 18, United States Code, Section 554(a).

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On August 22, 2023, approximately 1840 hours, Andres SOTO, the driver and registered owner of a 2016 Kia
Optima, Arizona License Plate OZA91M, and a passenger attempted to exit the United States and enter the
Republic of Mexico through the DeConcini Port of Entry (POE) in Nogales, Arizona. Customs and Border
Protection Officers (CBPO), while conducting (Contraband Enforcement Team) CET outbound operations,
initiated a random stop on the vehicle. Immediately after the CBPO obtained a negative binding outbound
customs declaration to include currency in excess of ten thousand dollars, firearms, and ammunition, both
subjects displayed unnatural stiff postures while seated in the vehicle.

While the Primary CBPO was attempting to gain further information, SOTO answered back with a low tone,
slurred speech, and lack of eye contact. The CBPO then referred the vehicle to secondary for further inspection.
CBPO’s then conducted a pat down search for officer safety, to which SOTO refused to widen the stance of his
feet for the CBPO. While searching SOTO, CBPO’s felt a hard object on the right side of SOTO’s front pocket.
The CBPO stated that it felt like a solid, unnatural, heavy object braced up against SOTO’s inner right thigh.
CBPO’s finished conducting the search of SOTO which yielded a High-Point 9mm caliber pistol (Serial Number
P1239090), 4 rounds of 9mm Luger Winchester ammunition, one High-Point 9mm Luger Magazine, and two
Glock switches.

The firearm, ammunition and magazine are items that are listed on the United States Commerce Control List and
as such, require a license to export from the United States into Mexico. At the time of his arrest, SOTO did not
have in his possession a license to export.

(BASIS OF COMPLAINT CONTINUED ON REVERSE.)
MATERIAL WITNESSES IN RELATION TO THE CHARGE: N/A
DETENTION REQUESTED                                                           SIGNATURE OF COMPLAINANT
    Being duly sworn, I declare that the foregoing is
    true and correct to the best of my knowledge.

AUTHORIZED BY AUSA A. Aguilar_______________________                          OFFICIAL TITLE
                                                                              HSI Special Agent Kelsey L. Carlson
Sworn by telephone _x__
SIGNATURE OF MAGISTRATE JUDGE1)                                               DATE
                                                                              August 23, 2023
  1)                      Case 4:23-cr-01451-JAS-MSA Document 1 Filed 08/23/23 Page 2 of 2
       See Federal Rules of Criminal Procedure Rules 3, 4.1, and 54


(BASIS OF COMPLAINANT’S CHARGE AGAINST THE ACCUSED CONTINUED.)                          23-06149MJ
